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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

YEHUDA HERSKOVIC,                                          Case No.: 1:19-cv-03372

                                       Plaintiff,          DEFENDANT CELLCO
                                                           PARTNERSHIP D/B/A
                        -against-                          VERIZON WIRELESS’S
                                                           STATUS UPDATE RE AAA
VERIZON WIRELESS,                                          ARBITRATION

                                       Defendant.          Compelled to Arb.: March 6, 2020


                         STATUS UPDATE RE AAA ARBITRATION

          The parties are currently engaged in arbitration before the American Arbitration

Association (“AAA”), as Yehuda Herskovic v. Verizon Wireless, AAA Case Number: 01-21-

0016-5580 (the “Arbitration”). The parties have both indicated their readiness to proceed and

are awaiting the appointment of an arbitrator.

          On November 29, 2021, Plaintiff Yehuda Herskovic (“Plaintiff”) purported to file an

“Amended Complaint” in the Arbitration, which was captioned as a pleading in this action,

rather than as an amended arbitration demand. To the extent Plaintiff seeks to file his “Amended

Complaint” in this action, it should be stricken, since this action has been stayed pending the

conclusion of the Arbitration, and neither consent nor leave of court was sought before such

filing.

Dated: New York, New York
       December 6, 2021
                                                    Respectfully submitted,

                                                    Howard A. Fried, Esq.
                                                    Howard A. Fried (HF2114)
                                                    McGIVNEY, KLUGER, CLARK &
                                                    INTOCCIA, P.C.
                                                    Attorneys for Defendant
                                                    CELLCO PARTNERSHIP d/b/a Verizon
                                                    Wireless, incorrectly sued as “Verizon Wireless”
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